                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,                         Case No. 15-cr-117-pp

                  Plaintiff,

v.

TOM HORTON,

                  Defendant.
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         ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
   RECOMMENDATION (DKT. NO. 483) AND ACCEPTING DEFENDANT’S
                                GUILTY PLEA
______________________________________________________________________________

      On November 2, 2016, the defendant and his counsel appeared before

Magistrate Judge David E. Jones for a change-of-plea hearing. Dkt. No. 2. The

hearing originally had been scheduled to take place before Judge Pepper, but

due to her illness, Judge Jones offered to take the plea. The defendant

consented to Judge Jones taking the plea; the government did not. Id. at 1.

Judge Jones explained that he would make a recommendation to this court,

and that this court would decide whether to accept the plea. Id.

      During the plea colloquy, Judge Jones learned that the defendant

recently had undergone back surgery, and had been prescribed pain

medication. Id. Judge Jones questioned the defendant regarding his physical

condition, and the defendant informed the judge that he had not taken the

pain medication prior to the hearing, to try to keep his mind clear for the

change of plea. Despite this fact, and despite the fact that the defendant was in


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pain during the hearing, he assured the judge that he was physically capable of

proceeding, and that he understood what was going on around him. Id. Judge

Jones concluded that the defendant was competent to enter his guilty plea. Id.

      Judge Jones proceeded to question the defendant about his rights, the

penalties associated with the offense to which he was pleading, and this court’s

final authority to impose a sentence regardless of the recommendations of the

probation department or the parties. Id. at 1-2. At the end of the hearing,

Judge Jones concluded, and recommended that this court find, that the

defendant’s plea was knowing and voluntary, and supported by an independent

factual basis. Id. at 2. Judge Jones recommended that this court accept the

defendant’s guilty plea and schedule the case for sentencing. Id.

      No party has objected to Judge Jones’ report and recommendation.

Having reviewed the case, and in particular, the plea hearing and Judge Jones’

findings, the court ADOPTS Judge Jones’ report and recommendation. The

court ACCEPTS defendant Tom Horton’s guilty plea, finding that he made it

knowingly and voluntarily, understanding his rights and the consequences of

his plea. The court ORDERS that the probation department begin the process

of preparing a presentence investigation report. The court’s staff will contact

the parties (including the probation officer) to schedule a date for the

sentencing hearing, as well as deadlines for disclosure of the draft presentence

investigation report, objections to the report, responses, the filing of letters or




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other supporting documentation, and the filing of the revised presentence

report.

      Dated in Milwaukee, Wisconsin this 28th day of November, 2016.




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